
USCA1 Opinion

	





        December 11, 1995       [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                           
                                 ____________________


        No. 95-1214
         

             RANDOLPH L. WHITE, II AND RANDOLPH DEVELOPMENT GROUP, INC.,

                               Plaintiffs, Appellants,

                                          v.

              NATIONAL CREDIT UNION ADMINISTRATION BOARD, AS LIQUIDATION
             AGENT OF BLUE HILL FEDERAL CREDIT UNION, AND PAUL A. SODANO,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Edward F. Harrington, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Selya and Cyr, Circuit Judges.
                                           ______________

                                 ____________________

            Frank R. Caruso and John R. Sherman on brief for appellants.
            _______________     _______________
            Harvey  Weiner, R.  Alan Fryer,  John  J.  O'Connor and  Peabody &amp;
            ______________  ______________   __________________      _________
        Arnold on brief for appellees.
        ______


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                 Per Curiam.  On  March 17, 1994, two days  after denying
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            plaintiffs' motion for a preliminary injunction, the district

            court issued a sua sponte margin order dismissing this breach
                           __________

            of  contract action  on the ground  of mootness.   Plaintiffs

            insist they never received notice  of such dismissal from the

            clerk's  office, averring that they first  learned of it from

            opposing  counsel on  August 3,  1994.   Nearly  three months

            later, on October 27, plaintiffs filed a motion under Fed. R.

            Civ.  P. 60(b) to vacate  the order of  dismissal; they there

            argued  that  the  mootness  determination  had  overlooked a

            damages  claim in their complaint.  This motion was summarily

            denied.  A motion for  reconsideration followed, only to meet

            the same fate.  Plaintiffs having now appealed, we  summarily

            affirm.

                 At the  outset, we note  that plaintiffs have  failed to

            appreciate all that  is before  us for review.   While  their

            notice of appeal listed  both the denial of their  Rule 60(b)

            motion and  the denial  of their motion  for reconsideration,

            they now "concede" that we lack  jurisdiction over the former

            because  no timely appeal  was filed therefrom.   Yet because

            defendant is an  "agency of the United  States," Carpenter v.
                                                             _________

            Western Credit Union, 62  F.3d 143, 144 n.1 (6th  Cir. 1995),
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            the sixty-day  appeal period  prescribed by  Fed. R.  App. P.

            4(a)(1) was triggered.  And plaintiffs' appeal, it turns out,

            was filed two days  short of this deadline.   Whether through



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            happenstance  or otherwise,  the denial  of their  Rule 60(b)

            motion is thus properly subject to review.1

                 Nonetheless,  plaintiffs' claim  falters on  the merits.

            "[B]ecause   Rule  60(b)  is  a  vehicle  for  'extraordinary

            relief,' motions  invoking the  rule should be  granted 'only

            under   exceptional  circumstances.'"     de   la  Torre   v.
                                                      ______________

            Continental  Ins.  Co., 15  F.3d  12, 14-15  (1st  Cir. 1994)
            ______________________

            (quoting  Lepore v. Vidockler,  792 F.2d  272, 274  (1st Cir.
                      ______    _________

            1986)).  No such circumstances are present here.  We think it

            significant  that, at the time  they learned of  the March 17

            dismissal, plaintiffs could have moved to reopen the time for

            appeal pursuant to Fed. R. App. P. 4(a)(6)--a remedy that was

            designed  to  address the  very  plight in  which  they found

            themselves.   Plaintiffs  failed  to do  so.   Instead,  they

            waited  nearly three  months  before filing  their motion  to

            vacate.    Such inaction  on  their  part militates  strongly

            against  the availability of  Rule 60(b) relief.   See, e.g.,
                                                               ___  ____

                                
            ____________________

            1.  The argument actually advanced  by plaintiffs on appeal--
            that the district court abused  its discretion in denying the
            motion for reconsideration--can  be readily  rejected.   That
            motion  complained solely of legal error  in the court's Rule
            60(b)  denial and so, by definition, sought relief under Fed.
            R. Civ. P.  59(e).  See, e.g.,  Feinstein v. Moses, 951  F.2d
                                ___  ____   _________    _____
            16, 19  n.3 (1st Cir. 1991).   Yet it was  served outside the
            applicable ten-day limit, rendering such  relief unavailable.
            See, e.g., Acevedo-Villalobos v.  Hernandez, 22 F.3d 384, 390
            ___  ____  __________________     _________
            (1st Cir.), cert. denied, 115 S. Ct. 574 (1994).  And even if
                        ____________
            construed  as seeking  relief  under Rule  60(b), the  second
            motion   would  border  on   the  frivolous--inasmuch  as  no
            "exceptional  circumstances"  surrounded  the denial  of  the
            first motion.  See, e.g., Rodriguez-Antuna v. Chase Manhattan
                           ___  ____  ________________    _______________
            Bank Corp., 871 F.2d 1, 3 (1st Cir. 1989).
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            Jenkins v. Burtzloff,  ___ F.3d  ___, 1995 WL  640413, at  *4
            _______    _________

            (10th  Cir. 1995)  (holding that,  where plaintiff  failed to

            pursue Rule  4(a)(6) relief,  "Rule 60(b)(1) cannot  save his

            appeal");  Zimmer St. Louis, Inc. v. Zimmer Co., 32 F.3d 357,
                       ______________________    __________

            360-61 (8th Cir. 1994).2   As well, whatever the  validity of

            the court's mootness determination,  our review of the record

            reveals  that plaintiffs'  underlying action  was of  dubious

            merit.  Given this  set of circumstances, we find no abuse of

            discretion.

                 Affirmed.  See Loc. R. 27.1.
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            2.  The Zimmer  court went so  far as to hold  that, with the
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            advent of Rule 4(a)(6), "district  courts no longer have  the
            discretion" to  grant Rule 60(b)(6) relief  "to cure problems
            of lack of notice"--even  when such notice is acquired  after
            the expiration  of Rule 4(a)(6)'s  180-day deadline.   See 32
                                                                   ___
            F.3d  at 361.   We have no  occasion to  address that holding
            here.    Assuming arguendo  that  Rule  60(b) relief  remains
                              ________
            available in  this  context, we  find  that it  was  properly
            denied.   

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